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                        IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF SOUTH CAROLINA

                                  CHARLESTON DIVISION

                                     |
MICFO, LLC,                          | CIVIL ACTION NO. 2:18-cv-01653-DCN
                                     |
              Plaintiff,             |
                                     |
       v.                            |     REQUEST FOR ORDER
                                     |     OF PROTECTION
Victoria Latham and Erinn Larkin,    |
                                     |
              Defendants,            |
                                     |
____________________________________|
                                     |
Erinn Larkin,                        |
                                     |
              Third-Party Plaintiff, |
                                     |
       v.                            |
                                     |
Amir Golestan, individually,         |
                                     |
              Third-Party Defendant. |
____________________________________|

       YOU WILL PLEASE TAKE NOTICE that pursuant to Local rule 6.02 D.S.C., the

Plaintiff, above-named, by and through his undersigned counsel, respectfully moves the Court for

an Order of Protection for Adam Mlynarczyk, Esquire for July 22, 2019 through July 30, 2019

when he is scheduled to be out of town for vacation.

       The protection from court appearances is not being designated for purpose of delaying,

hindering, or interfering with the timely disposition of any matter in any pending action or

proceeding.




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       The undersigned hereby certifies and affirms in accordance with Local Civil rule 7.02 DSC

that he consulted with opposing counsel and they do not oppose this motion.

                                                   Respectfully,



                                                   KOONTZ MLYNARCZYK, LLC

                                                   /s/ Adam Mlynarczyk
                                                   Adam Mlynarczyk (Fed ID 8070)
                                                   KOONTZ MLYNARCZYK, LLC
                                                   1058 East Montague Avenue
                                                   North Charleston, South Carolina 29405
                                                   T: (843) 225-4252
                                                   F: (843) 277-9120
                                                   E: adam@kmlawsc.com
                                                   Attorneys for Plaintiff

March 27, 2019
North Charleston, South Carolina




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